      Case 1:19-cv-00046-ACR            Document 24-5        Filed 03/16/20     Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 VALORES MUNDIALES, S.L. and
 CONSORCIO ANDINO, S.L.

           Plaintiffs and Arbitration Award Creditors,
                                                               No. 1:19-cv-00046-KBJ-RMM
           v.

 BOLIVARIAN REPUBLIC OF VENEZUELA

           Defendant and Arbitration Award Debtor.



                                      [PROPOSED] ORDER

          Upon the Court’s consideration of Plaintiffs’ Motion for Judgment on the Pleadings or, in

the alternative, Summary Judgment, it is hereby ORDERED AND ADJUDGED that the Motion

is GRANTED.

          IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:

          The pecuniary obligations of the Award in favor of Plaintiffs and against Defendant are to

be recognized, entered, and recorded as a judgment by the Clerk of the Court in the same manner

and with the same force and effect as if the Award were a final judgment of a court of general

jurisdiction of one of the United States, pursuant to 22 U.S.C. § 1650a and Article 54 of the

Convention on the Settlement of Investment Disputes between States and Nationals of Other

States.

          The Clerk of the Court is directed to enter JUDGMENT for Plaintiff against Defendant in

the amount of:

          1. US$430,400,000 plus compound interest at the rate of LIBOR plus 2 percent from
             January 22, 2013, through the date of payment to Plaintiffs; and
     Case 1:19-cv-00046-ACR         Document 24-5       Filed 03/16/20     Page 2 of 2




      2. US$5,925,705.14 in partial reimbursement of Plaintiffs’ costs associated with the
         arbitration proceeding.




                                                     HON. KETANJI BROWN JACKSON
                                                        United States District Judge

Dated: __________________, 2020




                                            -2-
